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   7                       UNITED STATES DISTRICT COURT

   8                     CENTRAL DISTRICT OF CALIFORNIA
   9                                           CASE NO. 5:22-cv-01910-SB-MRW
       MEGAN REEVES,
  10                                           (cons. w/ 5:22-cv-02021-SB-MRW)
  11              Plaintiff,
                                               JUDGMENT
  12        vs.
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       CITY OF PALM SPRINGS, et al.
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  15              Defendants.
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   1                                      JUDGMENT
   2        In accordance with the Court’s February 26, 2023 “Order Dismissing Action”
   3 (Dkt. 21), it is now ORDERED, ADJUDGED, and DECREED that judgement is
   4 entered in this action as follows:
   5        1.     Plaintiff Megan Reeves shall recover nothing from Defendants City of
   6 Palm Springs, the Palm Springs Police Department, City of Beaumont, the
   7 Beaumont Police Department, City of Banning, and the Banning Police Department
   8 on Plaintiff Megan Reeves’ Complaint (Dkt. 1);
   9        2.     Plaintiff Megan Reeves’ Complaint is dismissed in its entirety; and
  10        3.     Defendants City of Palm Springs, the Palm Springs Police Department,
  11 City of Beaumont, the Beaumont Police Department, City of Banning, and the
  12 Banning Police Department shall have judgment in their favor on Plaintiff Megan
  13 Reeves’ Complaint.
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  16 Date: August 15, 2023                          ___________________________
                                                          Stanley Blumenfeld, Jr.
  17                                                    United States District Judge
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